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                              No. 22-14219-B

               IN THE UNITED STATES COURT OF
              APPEALS FOR THE ELEVENTH CIRCUIT

                         UNITED STATES OF AMERICA,

                            Plaintiff-Appellant,

                                     v.

             JOHN HOLLAND, WILLIAM MOORE, EDMUNDO
                             COTA,

                           Defendants-Appellees.


             ON APPEAL FROM THE UNITED STATES DISTRICT
            COURT FOR THE NORTHERN DISTRICT OF GEORGIA
                NO. 1:17-CR-0234-AT (TOTENBERG, J.)


               REDACTED OPENING BRIEF FOR
            DEFENDANT-APPELLEE WILLIAM MOORE



ANDREW M. GROSSMAN                            BRIAN F. MCEVOY
KRISTIN A. SHAPIRO                            BRIAN T. RAFFERTY
Baker & Hostetler LLP                         GRACE W. ZOLLER
Washington Square, Suite 1100                 Baker & Hostetler LLP
1050 Connecticut Avenue, N.W.                 1170 Peachtree Street
Washington, D.C. 20036                        Suite 2400
(202) 861-1697                                Atlanta, GA 30309
agrossman@bakerlaw.com                        (404) 459-0050
                                              bmcevoy@bakerlaw.com

               Attorneys for Defendant-Appellee William Moore
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                       United States v. John Holland, et al.
                                No. 22-14219-B

                  CERTIFICATE OF INTERESTED PERSONS
                AND CORPORATE DISCLOSURE STATEMENT
      Pursuant to 11th Cir. R. 26.1-1(a)(3), Defendant-Appellee William Moore

certifies that, in addition to the persons and entities listed in the United States’
Opening Brief, the following persons and entities have an interest in the outcome
of this case:

      Shapiro, Kristin A., Counsel for Defendant-Appellee William Moore
      Zoller, Grace W., Counsel for Defendant-Appellee William Moore


                                           /s/ Brian F. McEvoy
                                           Brian F. McEvoy




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                    STATEMENT REGARDING ORAL
                           ARGUMENT
      Defendant-appellee William Moore respectfully submits that oral
argument is unnecessary. The law regarding the district court’s holding that the

government failed to establish by a preponderance of the evidence that
defendants willfully conspired to violate the Anti-Kickback Statute—as is
necessary for the government to introduce the hearsay statements of alleged co-
conspirators—is well-established and straightforward in its application here.
And it is apparent from the briefs and record that the district court’s factual
findings are not clearly erroneous.




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               STATEMENT REGARDING ADOPTION OF
                    BRIEFS OF OTHER PARTIES
      Mr. Moore respectfully adopts in full his co-defendant/appellee’s briefs
pursuant to Fed. R. App. P. 28(i). Specifically, Mr. Moore adopts: John Holland’s
Sealed Opening Brief and Edmundo Cota’s Opening Brief. The issues contained
in these briefs apply near equally to Mr. Moore as they do to his co-defendants.




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                                 INTRODUCTION
      This case is unlike any other Anti-Kickback Statute (“AKS”) prosecution.
The government challenges fair-market-value payments that were made
pursuant to facially lawful contracts, extensively vetted by counsel, and in

exchange for necessary services that were actually rendered. It asserts a novel
and unsupported “chicken-and-egg” theory of liability, in that some services
would not have been needed but for patient referrals, to criminalize routine
hospital administration.
      Equally novel is the government’s approach to proving its case. For over
six years, the government has fought to try its case by cherry-picking hearsay
statements from an army of purported “co-conspirators,” and introducing them,
stripped of context, as non-hearsay through a case agent under Federal Rule of
Evidence 801(d)(2)(E), not subject to cross-examination on their substance. In
order to do so, the government took the unprecedented step of identifying 55
unindicted co-conspirators. Only after the district court required the government
to demonstrate admissibility did it narrow the list down to ten unindicted co-

conspirators and 44 statements allegedly made in furtherance of a conspiracy
with defendants.
      The government’s attempt to omit context—including fact-witness
testimony and completeness of the documents within which the statements are
found—is a blatant attempt to smother the truth. Why? Because the truth
contradicts the government’s version of events. Without this distortion, the

government’s case falls apart.



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      Perhaps this is why the government is still fighting to suppress this
exculpatory context by taking the unusual step of appealing an order denying its

Motion to Admit Co-Conspirator Statements. The government’s appeal ignores
the findings of the district court and attempts to manifest a legal error where
none exists. The district court made a factual determination that the government
failed to establish Defendant-appellee William Moore’s participation in a single
conspiracy because “the Government has presented scant evidence of
Defendants’ willfulness”—an essential element of the charged conspiracy—and

thus failed to carry its burden of proof under Rule 801(d)(2)(E). The
government’s evidence of the alleged conspiracy largely consists of required
compliance training, boilerplate contractual provisions that were drafted and
approved by in-house and outside counsel, and benign hospital business
operation documents, including ones tracking patient volume—which are
ubiquitous in hospital management. This showing is woefully inadequate,
especially when considered along with the substantial exculpatory evidence
submitted by defendants. The district court’s factual finding is not clearly
erroneous and should be affirmed, if this appeal is not dismissed for lack of
jurisdiction.
                     STATEMENT OF JURISDICTION
      The government appeals from a pretrial order holding that certain
statements are not admissible under Federal Rule of Evidence 801(d)(2)(E). The
district court had jurisdiction under 18 U.S.C. § 3231 and entered its order on




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November 15, 2022. DE.596. 1 The government timely filed a notice of appeal
on December 14, 2022. DE.619; see Fed. R. App. P. 4(b)(1)(B)(i). The

government asserts that this Court has jurisdiction under 18 U.S.C. § 3731. For
the reasons provided in Argument § I, infra, section 3731 does not provide
jurisdiction over this interlocutory appeal.
                         STATEMENT OF THE ISSUES
         1.   Whether an order rejecting a single ground for admission of
evidence but not other potential grounds is an order “suppressing or excluding

evidence” under 18 U.S.C. § 3731, as necessary for jurisdiction over this
interlocutory appeal.
         2.   Whether the district court’s finding that the government failed to
establish that defendants conspired to willfully violate the AKS was clearly
erroneous.
         3.   Whether defendants’ compliance with the personal-services safe
harbor to the AKS, 42 C.F.R. § 1001.952(d), which the government did not
dispute below, provides an alternate basis for affirmance.
                          STATEMENT OF THE CASE

    I.     Background
         William Moore became the CEO of Atlanta Medical Center (“AMC”) in
September 2001—nearly two years after the initial contracts at issue were

negotiated, reviewed, approved, and executed—a position which he held until


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    “DE.      ” refers to district court docket entries.


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2014. DE.121:3. During this period, AMC was owned and operated by Tenet
Healthcare Corporation (“Tenet”), a Fortune 500 company with hospitals

across the nation. DE.521-Ex.4:21. Defendant-appellee John Holland was the
CEO of North Fulton Hospital (“NFH”), a Tenet hospital in Roswell, Georgia,
from 2000 to 2006, and from 2006 to 2013 he was Senior Vice President of
Operations for Tenet’s Southern States Region. DE.121:2.
      Defendant-appellee Edmundo Cota was the President and CEO of
Hispanic Medical Management, Inc., which did business as Clinica de la Mama

(“Clinica”). DE.121:3. 2 Since its founding in 1988, Clinica had operated
numerous health clinics that provided Ob-Gyn and pediatric healthcare services
to uninsured and undocumented Hispanic women and children in a bilingual
environment sensitive to the needs of this population. DE.521-Ex.4:2-3. Patients
generally paid Clinica in cash for services at the clinics but were eligible to have
their labor and delivery at a hospital covered by Medicaid’s Emergency Medical
Assistance programs. DE.507-AppxB:213-14.
      Before, during, and after Mr. Moore and Mr. Holland’s tenures at AMC
and NFH, the two hospitals separately contracted with Clinica for the provision

of services necessary to support their work with the region’s fast-growing
Hispanic population. DE.521-Ex.4:7. The contractual relationship between
Clinica, AMC, and the other Tenet hospitals proceeded as follows.


2
 In 2010, Mr. Cota and his wife and business partner, Tracey Cota, divorced
and divided the business between them. DE.121:3. This brief refers to their
various entities as “Clinica.”


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      1.    AMC began negotiating with Clinica in 1999 and entered into its
first contract with Clinica on March 15, 2000, eighteen months prior to Mr.

Moore’s tenure. DE.507-App.B:431-65; DE.521-Ex.16. Pursuant to the
contract, Clinica would open and manage an Ob-Gyn clinic near AMC staffed
by hospital residents. DE.507-App.B:431-65. The time residents spent staffing
the clinic would count for purposes of AMC’s graduate medical education
program, and the contract specified that “none of the benefits to [Clinica] is
conditioned on any requirement that [Clinica] make referrals to” the hospital.

DE.507-App.B:441-43. AMC and Clinica also entered into a marketing-
consulting agreement under which Clinica would assist the hospital in the
“development and implementation of a marketing plan to promote the Practice
to the Hispanic community.” DE.507-App.B:449. Mr. Moore became the CEO
of AMC in September 2001, after the initial contract’s execution and first
renewal. DE.507-App.B:465.
        Between 2000 and 2011, AMC and Clinica regularly renewed their
contractual relationship and added to Clinica’s responsibilities. DE.507-
App.B:431-65. In June 2001, prior to Mr. Moore’s arrival at AMC, the parties
amended the contract to provide that Clinica would supply and manage
sufficient bilingual staff for 24/7 interpretation services for all Spanish-speaking
patients at AMC, regardless of the hospital department. DE.507-App.B:465. In
2006, the parties added that Clinica would provide bilingual Medicaid eligibility
determination services for all Hispanic patients at AMC. DE.507-App.B:480. In
2008, AMC’s accreditation as a teaching hospital was revoked and the residency


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program ended. DE.507-App.B:307. But AMC continued to engage Clinica for
interpretation and Medicaid eligibility services. DE.507-App.B:484-504.

       AMC undisputedly received needed and valuable services from Clinica
under these contracts. Clinica opened and managed a clinic near the hospital
where AMC residents could gain educational experience treating a diverse
population, which was important for AMC’s residency program during its years
of operation. DE.507-App.B:443; DE.521-Ex.54:173, 219-21. AMC also
received needed in-person interpretation services for the hospital’s Spanish-

speaking patients. DE.521-Ex.2:514. While hospitals sometimes satisfy their
federal-law obligation to provide interpretation through telephonic services, in-
person translation is superior, particularly in high-risk situations such as
deliveries, and was preferable given AMC’s significant number of Spanish-
speaking patients throughout the hospital. DE.521-Ex.2:748.
       Regarding the Medicaid eligibility services, Clinica staff prescreened and
qualified Hispanic patients for Medicaid assistance, and Clinica patients would
arrive at AMC for labor and delivery with their Medicaid applications in order.
DE.521-Ex.2:140. While AMC had previously used a Tenet subsidiary for
Medicaid eligibility services for other patients, Clinica was better at working
with the undocumented Hispanic population and less expensive. DE.521-
Ex.2:152-53


       Counsel for AMC and for Clinica drafted and negotiated the initial
agreement and approved the extensions and amendments throughout the course


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of the parties’ contractual relationship, including verifying that AMC was
paying fair market value for Clinica’s services. See, e.g., DE.521-Exs.-4, 16, 20-

23, 55, 63-64. For example, in 2005, AMC polled providers of interpretation
services in the Atlanta area to establish fair market value and determined that
Clinica’s compensation was at the low end of the range. DE.521-Ex.63:34.
      2.    Three other Tenet hospitals also contracted with Clinica, although
Mr. Moore never worked at or had meaningful involvement with these
hospitals. NFH entered into its first contract with Clinica in for 24/7

interpretation services and Medicaid eligibility services in October 2001.
DE.507-App.B:513-27. The contract was regularly extended and renewed
through 2011, long after Mr. Holland had left the hospital. DE.507-App.B:528-
85. As with the AMC contracts, NFH undisputedly received needed and
valuable services from Clinica. See, e.g., DE.521-Ex.12:51




                  The NFH contract was also extensively vetted by counsel for
Tenet and Clinica. See, e.g., DE.507-App.B:651; DE.521-Ex.12:73




        Spalding Regional Medical Center (“Spalding”) in Griffin, Georgia, and
Hilton Head Hospital (“HHH”) in South Carolina also contracted with Clinica


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in 2004 and 2006, respectively, for interpretation and Medicaid eligibility
services. DE.507-App.B:586-629. Spalding’s and HHH’s contracts with Clinica

were likewise reviewed and approved by counsel. DE.507-App.B:702-718;
DE.521-Exs.26, 35.
    II.   Procedural History

          On September 16, 2017, the United States filed a second superseding
indictment against defendants. 3 DE.121. As relevant here, Count 1 charges
defendants with a conspiracy to defraud the United States and pay and receive
bribes in connection with a federal health care program, in violation of 18 U.S.C.
§ 371. Specifically, Count 1 alleges that defendants conspired to violate the AKS,
42 U.S.C. § 1320a-7b, “by knowingly and willfully offering and paying
remuneration” to induce the referral of an individual for the furnishing “of any
item and service for which payment may be made in whole and in part by a
federal health care program.” DE.121:¶ 41. Notably, Mr. Moore is not charged

with an underlying substantive count of violating the AKS. DE.121:¶ 66. The
indictment acknowledges that all of the payments at issue were made pursuant
to facially lawful contracts. See DE.121:¶ 46-47. But it alleges that the contracts
were “pretextual” and many “purported” services provided under the contracts
were known to defendants to be unnecessary, duplicative, problematic, not
rendered, or rendered by persons who were not qualified. DE.121:¶ 48.




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    Mr. Moore is on bond. DE.131


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   A. Motion for a James Hearing
        The government notified counsel of the names of 55 alleged “unindicted

co-conspirators” whose hearsay statements the government might introduce at
trial pursuant to Federal Rule of Evidence 801(d)(2)(E), as required by the
district court’s Standing Order. DE.195-Ex.A.
                                                  Id.
        In January 2018, all defendants moved for a hearing pursuant to United
States v. James, 590 F.2d 575 (5th Cir. 1979) (en banc). See DE.195:1, 218:1. A

James hearing is held to determine the admissibility of hearsay statements by
alleged co-conspirators under Rule 801(d)(2)(E) prior to trial to prevent exposing
jurors to evidence that would be “so highly prejudicial as to color other
evidence.” James, 590 F.2d at 579. For the statements to be admissible under
Rule 801(d)(2)(E), the government must prove by a preponderance of the evidence
that a conspiracy existed, the conspiracy included the declarant and the
defendant, and the statement was made during the course and in furtherance of
the conspiracy. See United States v. Miles, 290 F.3d 1341, 1351 (11th Cir. 2002).
The government opposed, arguing that a James hearing would be an impractical
mini-trial and urged the district court to defer the question of Rule 801(d)(2)(E)
admissibility until the close of the government’s case-in-chief. DE.277:38, 43.
        In June 2019, the district court proposed a “compromise” requiring the
government to provide a notice of co-conspirator statements that it intends to
introduce at trial along with its arguments in support of its burden to satisfy the
Rule 801(d)(2)(E) standard. DE.446:68. The district court expressed its concern


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that if the issue were delayed until trial, it would cause substantial delay given
the identification of 55 unindicted co-conspirators. Id.

        The government then notified defendants of 83 statements it “may”
introduce under Rule 801(d)(2)(E) made by 11 alleged co-conspirator declarants,
while also maintaining that the identified 55 individuals and entities previously
identified were still considered unindicted co-conspirators. DE.472:Ex.A. The
only independent evidence provided to establish that a conspiracy existed was
the “anticipated testimony of Tracey Cota, Gary Lang, and other trial

witnesses”—a statement the government simply copied and pasted nine times
throughout its notice. Id. Notably, the government’s notice did not mention
willfulness.
        Defendants moved to exclude all 83 statements because the government
failed to establish that a conspiracy to violate the AKS existed, let alone that
each of the 11 declarants were knowing and intentional members of that
conspiracy. DE.472:1, 473:1. In the alternative, defendants renewed their
request for a James hearing. Id.
        The district court held a hearing on October 3, 2019, to discuss
outstanding pre-trial issues, including the James hearing issue, and subsequently
denied defendants’ Motions to Exclude. DE.497:10. However, the district court
found the government’s notice to be insufficient for myriad reasons, including
failure to establish a single conspiracy existed. DE.497:4-5. The district court
stated that the government failed to present “sufficient argument to explain why
the evidence shows by a preponderance of the evidence that the … contract[s


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were] pretextual.” DE.497:6-7. The district court also raised the issue of the
government’s unsupported criminalization of volume discussions. “It is not a

crime, for example, for a Tenet official to ask Tracey Cota how many patients
Clinica will refer to a Tenet hospital in the coming month, and that information
is clearly relevant to the hospital for reasons beyond violating the AKS.” Id. The
district court again compromised by ordering a James hearing “on paper.”
DE.497:9. It ordered the government, as the party bearing the burden, to file “a
motion or motions” specifically identifying the hearsay statements it intended to

introduce and to justify their admission. Id.
   B. The Government’s Motion to Admit
        The government filed its Motion to Admit Co-Conspirator Statements
in April 2020, seeking to introduce 44 statements from 10 declarants,
                                                  DE.507. Although proving a
conspiracy required the government to establish that defendants conspired to
willfully violate the AKS, its Motion to Admit was completely silent on
willfulness. See DE.596:28, n.14. It provided the following evidence to establish
the existence of a conspiracy:
           1.      Tracey Cota’s Interview Summaries and Guilty Plea
        The government submitted summaries of Tracey Cota’s interviews with
law enforcement and the transcript at her change-of-plea hearing. Ms. Cota was

Mr. Cota’s wife and business partner until around 2008, when they went through
a contentious divorce and divided the Clinica business. DE.507-App.B:33. The
summaries of her initial interviews state that,


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                                             DE.507-App.B:968. They also state

that, during the parties’ contractual relationship, Ms. Cota


                                            DE.507-App.B:972; see also DE.507-
App.B:9




                                   . See, e.g., DE.507-App.B:77, 180, 183-84.
       According to the summaries, years into her interviews with the
government, Ms. Cota abruptly


                 DE.507-App.B:972, 21. The summaries also indicate that




                 See, e.g., DE.507-App.B:17, 61.
       Ms. Cota pled guilty to conspiring to violate the AKS in 2014. DE.507-
App.B:203-37. At the plea hearing, the government argued as a factual predicate
for her plea that the “true purpose” for the Clinica contracts was “to pay for
Medicaid referrals.” DE.507-App.B:216. The government explained that “it was
sort of a chicken and egg thing…. [O]nce Clinica agreed to refer those patients,
then a need existed, so they created a need for the contracts.” DE.507-
App.B:219. The plea agreement contained “extensive cooperation provisions”


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that will be considered at Ms. Cota’s sentencing hearing, which has been
continued for eight years at the government’s request. DE.507-App.B:230, 236.

           2.       Clinica Contracts
        The government also submitted copies of Clinica’s contracts with the
Tenant hospitals as evidence of the conspiracy, despite the contracts being

facially lawful. The government notes that Mr. Moore signed some of the
contracts for AMC, that some of the contracts stated that payments to Clinica
were “not conditioned on any requirement” that Clinica make referrals, and that
some contracts contained provisions requiring the parties to comply with the
AKS. See, e.g., DE.507-App.B:441, 482. The Government’s evidence also
establishes that each contract was substantially negotiated, reviewed, and

amended by counsel for Tenet and Clinica. See e.g., DE.507-App.B:973-76.
           3.       Compliance Trainings
        The government submitted evidence that, from 2006 to 2011, Mr.
Moore, Mr. Holland, and hundreds of other Tenet employees received required
compliance training that included reference to the AKS. DE.507-App.B:765-
894. Specifically, slide 24 in a 2006 PowerPoint presentation paraphrased the

basic elements of a “safe harbor” to the AKS for personal-service contracts with
referral sources:




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            x        Fair Market Value
            x        Commercially reasonable
            x        Reasonable and necessary for legitimate business
                     purposes
            x        Does not take into account volume or value of
                     referrals or other business
DE.507-App.B:881. Slide 30 referenced the “one-purpose” rule, stating:
“Knowing & willful – One purpose test.” DE.507-App.B:887. And slide 31
referenced “Exceptions and Safe Harbors,” including the safe harbor for services

contracts, and stated “[i]mmunity from prosecution available,” “[a]rrangement
must meet all criteria,” and “[v]oluntary – not illegal if fall outside of the safe
harbor but subject to scrutiny.” DE.507-App.B:888. The government presented
no evidence of what was said in these presentations.
           4.        Communications Involving Mr. Moore
        The government submitted a handful of communications that included
or referenced Mr. Moore. Most are statements that the government also seeks to
introduce as co-conspirator statements.
        The government submitted three emails from
                including people who are not alleged unindicted co-conspirators,
that simply cc’d Mr. Moore, and attached                                  on actual
versus budgeted admissions for the hospital as a whole, including line items
breaking down admissions by payor and department and detailed notes about
the reasons for any variance. See, e.g., DE.507-App.B:319-20 (


                                            The government emphasized a few



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comments regarding variances in OB admissions. For example,




DE.507-App.B:320; see also DE.507-App.B:328


                                                DE.507-App.B:340




                                4


       The government submitted a




                                                             DE.507-Ex.17. 5 It
submitted a




4
  The government seeks to admit the latter two documents as co-conspirator
statements. DE.507-Exs.27, 28.
5
 The government seeks to admit this as a co-conspirator statement. DE.507-
Ex.17.


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                                                      DE.507-Ex.42. 6 It submitted
a


                  DE.507-App.B:302. It submitted a




DE.507- App.B:318. And it submitted




            DE.507-App.B:333.
         The government also submitted a


                                  DE.507-App.B:290. And the government
submitted




                 . See DE.507-App.B:317. 7


6
 The government seeks to admit this as a co-conspirator statement. DE.507-
Ex.42.
7
    The government seeks to admit this as a co-conspirator statement. DE.507-


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          The government submitted a


                                                                            DE.507-
App.B:324. 8 The email chain indicates that


                                                             . Id.
             5.     Communications Not Involving Defendants
          The government also submitted a few documents that did not include
any defendant, all of which are statements that the government seeks to
introduce under Rule 801(d)(2)(E). 9 With respect to AMC, it submitted a




                                    DE.507-Ex.24. And it submitted a




Ex.41.
8
 The government seeks to admit this as a co-conspirator statement. DE.507-
Exs.23, 30.
9
    DE.507-Exs.11, 21, 24, 36, 37, 43.


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                                                              DE.507-Ex.43.

       Regarding other hospitals, the government similarly submitted business
communications that it misconstrued to be nefarious. See DE.507-Exs.29, 37,
44. For example, it submitted an email between




                                                       DE.507-Ex.21.

   C. Defendants’ Responses
       In opposition to the motion, defendants submitted the evidence
discussed above showing that the Tenant hospitals received much-needed
services from Clinica at fair market value, and that the contracts were
extensively vetted by counsel. In addition, defendants submitted reams of
evidence putting the government’s hearsay statements in context. It is this
contextual evidence that the government hopes to avoid at trial by introducing
its version of the hearsay statements through a case agent, while blocking
admission of the alleged co-conspirators’ exculpatory statements on the ground
that they are not in furtherance of a conspiracy and therefore could not be
admitted to cross-examine the agent. See, e.g., DE.477-Tr.:96.
       To start with, defendants submitted transcripts of the grand jury
testimony of most of the alleged co-conspirators, along with notes from their
interviews with law enforcement. These individuals would be credible witnesses
at trial—


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                                                                                 These
individuals consistently testified that
                                 See, e.g., DE.521-Ex.12:10
                                                                   DE.521-Ex.14:251


                                   DE.521-Ex.14:262

                                                                              DE.521-
Ex.15:42




                                                                   See, e.g., DE.507-
App.B:162; DE.521-Ex.12:42, Ex.48:268; see also DE.521-Ex.43


          Defendants also submitted evidence explaining that, by offering
translation and Medicaid eligibility services, the hospitals hoped to attract
Hispanic patients. See, e.g., DE.521-Ex.14:197


                                     10
                                           Because




10
     See also DE.521-Ex.15:93, 48:66-67.


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           DE.507-App.B:19
                                                                          DE.521-
Ex.3




                      DE.521-Ex.15:37


       Additionally, defendants submitted evidence showing that there were
valid business reasons for their discussions of Clinica volume. Understanding
and predicting volume was important for the hospitals’ staffing and budgeting
plans. See, e.g., DE.521-Ex.8                                             DE.521-
Ex.12:28
                                                                                  It
was also important to predict the number of Clinica patients who would deliver
at the hospital in preparing the Clinica contracts, as the volume of Clinica
patients was relevant to the business need for and fair market value of the
services provided under the contracts. See, e.g., DE.521-Ex.2:80, Ex.7.
        As for the volume analyses, the witnesses explained that


                                  DE.521-Ex.2:364-65,




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                         DE.521-Ex.48:116




                                                                See, e.g., DE.521-
Ex.2:373-74. Defendants also presented evidence explaining the government’s
supposedly nefarious statements. For example, with respect to the




                                                                         DE.521-
Ex.14:250-53.
   D. The District Court’s Order
      The district court denied the government’s motion on the basis that the
government failed to establish that a conspiracy existed because it did not
establish a willful violation of the AKS by a preponderance of the evidence.
DE.596:38-39. Indeed, the court stated that the government had presented
“scant” evidence of defendants’ willfulness and did not even discuss willfulness
in its motion: “a search of the document indicates that no form of the word
‘willful’ appears in the motion.” DE.596:28, n.14. The court then explained
why the government failed to carry its evidentiary burden on this element.
      The court found “ample evidence showing that Clinica provided valuable
services under the contracts and no evidence that the contracts were a sham.”
DE.596:33. To the contrary, “it is…apparent that the services provided by
Clinica were valuable to Tenet and to the patients.” DE.596:32. For example,


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the court found that “Clinica was uniquely situated to provide [Medicaid
eligibility] services to benefit both the Tenet hospitals and the undocumented

patients.” DE.596:33. “Because of Clinica’s work, Tenet was able to secure
millions in EMA payments, and the patients left the hospitals with babies and
without significant medical debt.” Id.
      The court further noted that “[t]he Government has…failed to dispute, or
even respond to, Defendants’ contention that the contracts qualified under the
[42 C.F.R.] § 1001.952(d)42 C.f safe harbor” to the AKS, which permits

providers to enter into services contracts with referral sources so long as, inter
alia, the contract is for services that are reasonably necessary and the referral
source is paid a fair market value. Id. The court explained that “the Government
has not yet produced any evidence that Clinica was paid for services that were
not provided, that the amount paid exceeded the fair market value of the services
that were provided, [or] that the services were not needed by the hospitals.”
DE.596:13, n.6. “In the absence [such] evidence…this Court cannot find that
any of the involved individuals had reason to believe they were violating the
law.” DE.596:38.
      The government did argue that “the Tenet hospitals did not need the
services provided for under the contracts unless Clinica referred its patients to the
hospitals.” DE.596:24. But the court recognized that, “as more Medicaid-
covered, Hispanic women show up at a hospital to deliver babies, more
translation services, services related to EMA eligibility determination
paperwork, educational services, and birth certificate services are needed, and


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the provider of those services has a legitimate expectation of higher pay for more
service.” DE.596:34. It does not “violate the AKS to create an attractive place

to refer patients,” including by hiring Clinica to perform services that “made the
Tenet hospitals an attractive place for Clinica to send its patients because Clinica
knew that its employees would be there to help with translation and Medicare
eligibility.” Id.
       The government also argued that, notwithstanding the safe harbor,
defendants still violated the AKS because one purpose of the contracts was to

induce referrals, in contravention of the “one-purpose rule.” DE.596:9-21. The
court was unpersuaded by the government’s evidence that a purpose of the
contracts was to induce referrals, as “hospital administrators have ample, legal
reasons to monitor patient volume, and as a result the discussions, standing
alone, do not establish that payments under the agreements were for something
more than the value of the services provided.” DE.596:31. In any event, the
court found that, even accepting government’s legal argument on the “one-
purpose” rule’s primacy, the lack of clarity on the interaction between the safe
harbor and rule undercut its showing of willfulness because defendants
reasonably could have believed that conduct satisfying the safe harbor was
lawful. DE.596:19, 21, 30.
       Moreover, “attorneys for both Tenet and Clinica vetted the contracts to
ensure that they would not violate the law.” DE.596:37. Thus, the court found
that “when the contracts were executed, defendants had a reasonable basis to
believe that the contractual arrangements…were legal.” Id. The court noted the


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government’s evidence that counsel for Tenet was unaware of a handful of
emails discussing the Clinica contract and volume, but it found that the evidence

“falls significantly short of establishing that the employees failed to make a full
and complete good faith effort of all material facts to an attorney.” Id.
  III. Standard of Review

      The district court’s determination that the government did not prove by a
preponderance of the evidence that a conspiracy existed is a “factual finding[]”
that this Court reviews “under the clearly erroneous standard.” United States v.
Matthews, 431 F.3d 1296, 1308 (11th Cir. 2005); see also United States v. Tokars,
95 F.3d 1520, 1538 (11th Cir. 1996); United States v. Allison, 908 F.2d 1531, 1534
(11th Cir. 1990). “Clear error is a highly deferential standard of review.” Bellitto
v. Snipes, 935 F.3d 1192, 1197 (11th Cir. 2019) (quotation marks omitted). A
finding is clearly erroneous only if the reviewing court “is left with the definite
and firm conviction that a mistake has been committed.” Id. (quotation marks

omitted).
                         SUMMARY OF ARGUMENT
      The district court denied the government’s motion to admit alleged co-
conspirator statements because it found that the government failed to establish
a conspiracy to willfully violate the AKS. The government’s challenge to that
finding fails for several reasons.

    I.       The Court lacks jurisdiction over this interlocutory appeal because
the district court’s order rejecting only a single ground for admission is not an
order “suppressing or excluding evidence.” 18 U.S.C. § 3731.


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   II.      The government’s claim of legal error misapprehends the district
court’s reasoning respecting the personal-services safe harbor. The court

accepted the government’s legal argument, which it repudiates on appeal, that
the “one-purpose” rule overrides application of the safe harbor. It found that,
even under the government’s legal position, the law was sufficiently unclear that
a party could rely in good faith on attempted compliance with the safe harbor
and that, in fact, defendants did so rely, which undercut the government’s
meagre showing on willfulness. The government’s concession on appeal that the

safe harbor is an absolute defense to liability only reinforces the district court’s
factual finding on willfulness.
  III.      The government fails to establish that the district court’s finding on
willfulness is clearly erroneous. That finding was supported by extensive and
unrebutted evidence that the hospitals received needed and valuable services
from Clinica at a fair market value pursuant to contracts extensively vetted by
counsel. This is not the typical AKS case involving obviously culpable conduct
like no-work contracts. Indeed, the government identifies no case finding a
willful AKS violation in circumstances anything like those here.
      None of the three purported “errors” asserted by the government
withstand scrutiny. First, the district court correctly found “scant” evidence of
willfulness given that the government’s evidence consisted of boilerplate
contractual provisions and one bullet on a PowerPoint slide from a compliance
training stating “Knowing & willful – One purpose.” Second, the district court
correctly found that the government did not establish that payments to Clinica


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were conditioned on patient referrals based on the weakness of the government’s
showing—a handful of emails taken out of context and misconstrued—and

extensive contrary evidence. Finally, the district court correctly considered
evidence of counsel’s involvement in making its willfulness finding and rejected
the government’s unsupportable claim that defendants concealed material facts
from counsel. As the court found, counsel’s extensive involvement supports
defendants’ good-faith attempted compliance with the AKS.
  IV.       Defendants’ compliance with the personal-services safe harbor

provides an alternative ground for affirmance. The government argues on appeal
that the Clinica contracts fall outside the safe harbor because compensation was
“determined in a manner that takes into account the volume or value of any
referrals.” 42 C.F.R. § 1001.952(d)(5). That argument is waived because the
government did not make it below. It is also wrong because compensation was
based on the fair market value of Clinica’s services and the hospitals’ projected
need for those services, and the government introduced no evidence that the
compensation was based on the volume or value of Clinica referrals.
                                ARGUMENT

 I.     The Court Lacks Jurisdiction Over This Interlocutory Appeal
        This Court lacks jurisdiction because the order appealed by the
government is not one “suppressing or excluding evidence,” as 18 U.S.C. § 3731

requires. While that provision provides jurisdiction over orders with the
“practical effect” of excluding evidence, United States v. Drogoul, 1 F.3d 1546,
1551 n.13 (11th Cir. 1993), the order here only rejects a single ground for


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admission without addressing other hearsay exceptions the government has
indicated it might assert, compare United States v. Musaibli, 42 F.4th 603, 612 (6th

Cir. 2022) (permitting appeal because admissibility was “thoroughly ventilated
below”). Moreover, the district court’s order does not foreclose the government
from admitting the statements at trial by calling the readily available witnesses
who made them. Compare Drogoul, 1 F.3d at 1551 n.13 (permitting appeal
because denial of motion to depose foreign nationals had “practical effect” of
exclusion where those witnesses “refuse[d] to testify” and were “beyond the

subpoena power”). For the same reasons, cases approving jurisdiction over
orders expressly excluding co-conspirator statements, United States v. Perry, 624
F.2d 29, 30 (5th Cir. 1980); United States v. Posner, 764 F.2d 1535, 1537 (11th Cir.
1985), do not support jurisdiction here. This appeal should be dismissed.

 II.    The Government Cannot Escape                  Clear-Error     Review      by
        Manufacturing Bogus “Legal” Issues
       The district court denied the government’s motion for admission of
alleged co-conspirator statements because it found that the government had
failed to establish that defendants acted willfully. In a blatant attempt to avoid

clear-error review of that finding, the government asserts that the decision below
was marked by “legal errors” concerning the import of the personal-services safe
harbor. But the district court refrained from ruling on the safe harbor, instead

only finding that legal uncertainty regarding its application was relevant to
whether defendants acted willfully—“‘that is, with a bad purpose, either to
disobey or disregard the law.’” DE.596:7 (quoting United States v. Vernon, 723



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F.3d 1234, 1256 (11th Cir. 2013)). In arguing otherwise, the government
misstates the district court’s reasoning and omits mention of its own reversal of

position on the safe harbor’s force that further supports the district court’s
determination.
      A.     Although the district court’s decision did not rest on application of
the safe harbor, it is relevant here as a factual matter and as an alternative ground
of affirmance, which is addressed below. See infra § IV. Factually, an individual’s
good-faith effort to comply with the law speaks to a lack of willfulness. See

Vernon, 723 at 1269; see generally Cheek v. United States, 498 U.S. 192, 203 (1991).
The AKS makes it a crime to “knowingly and willfully offer[] or pay[] any
remuneration…to induce” referrals. 42 U.S.C. § 1320a-7b(b)(2). Because the
statute technically reaches many “innocuous, or even beneficial, commercial
arrangements,” Congress directed the Inspector General of the U.S. Department
of Health and Human Services to promulgate regulatory safe harbors. 56 Fed.
Reg. 35,952, 35,952 (July 29, 1991). The “personal services” safe harbor
excludes payments compensating services from being “remuneration” under the
AKS when (1) they are made pursuant to a written agreement, (2) the agreement
specifies and covers all the services provided to the payor by the payee, (3) the
term of the agreement is at least one year, (4) the compensation formula is set in
advance, consistent with “fair market value in arm’s-length transactions, and is
not determined in a manner that takes into account the volume or value of any
referrals,” and (5) the aggregate services provided do not exceed those
reasonably necessary to achieve the agreement’s purpose. 42 C.F.R.


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§ 1001.952(d). A person who complies with the safe harbor “will be assured of
not being prosecuted criminally or civilly.” 56 Fed. Reg. at 35,954.

      The government acknowledged below that safe-harbor compliance is an
affirmative defense to an alleged AKS violation but argued that this “affirmative
defense will fail—and the AKS conspiracy proved—where the United States
demonstrates that any purpose of a payment for services was to induce…patient
referrals.” DE.507:6-7; see also DE.507:26-27 (similar). In other words, it
contended that the judicially-created “one-purpose rule”—which holds that the

AKS’s inducement element is satisfied if one purpose of a payment is to induce
referrals, even if the payment was also intended to compensate for services,
United States v. Greber, 760 F.2d 68, 72 (3d Cir. 1985)—overrides the personal-
services safe harbor.
      Ultimately, the district court rested its decision not on the AKS’s
inducement element (one-purpose theory) or the remuneration element (safe
harbor), but on the government’s failure to establish willfulness. DE.596:37-38.
It found that, even accepting the government’s legal position, someone in “good
faith” could believe that “the one purpose rule did not apply if a transaction fit
within a safe harbor.” DE.596:30. On that basis, it determined that “Defendants
had a reasonable basis to believe that the contractual arrangements under the
terms of the contracts were legal” under the safe harbor and that no evidence
showed “any of the involved individuals had reason to believe that they were
violating the law.” DE.596:38.




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      B.    The government now faults the district court for taking its safe-
harbor argument seriously, but its concession that the safe harbor is not vitiated

by the one-purpose rule only supports the district court’s reasoning.
      After insisting below that the one-purpose rule overrides the safe harbor,
the government acknowledges on appeal that the two address different elements
(inducement and remuneration, respectively) and that “a payment made under
an arrangement satisfying every requirement of a regulatory safe harbor does not
violate the AKS.” Gov’t.Br.39-40, compare DE.507:6-7. The government’s

criticism of the district court for accepting the force of its now-repudiated legal
argument is baffling. If the safe harbor shields conduct from liability, as the
government now concedes, then that means it was indisputably reasonable for
the parties to the Clinica agreements to rely on their understanding and advice
of counsel that the agreements satisfied the safe harbor and therefore were
lawful. The district court’s factual finding of reliance on the safe harbor is
certainly not undermined by the government’s belated concession that
compliance with the safe harbor provides a complete defense to liability.
       Nor was there legal error. Far from applying a “heightened standard for
willfulness,” Gov’t.Br.43, the district court drew the standard verbatim from the
government’s principal authorities, Vernon and United States v. Starks, 157 F.3d
833 (11th Cir. 1998), which define willfulness as “‘specific intent to do
something the law forbids, that is with a bad purpose, either to disobey or
disregard the law,’” DE.596:7. Those decisions contradict the government’s
claim (at 43) that a different standard, the one-purpose rule, applies—which


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would collapse the statute’s inducement and willfulness elements into a single
inquiry, one that improperly excludes good-faith attempted compliance with the

law. See Cheek, supra. Finally, the government is wrong to contend (at 44) that
the district court held that a showing of “nefarious conduct” is needed to make
out an AKS violation. It simply found that no such evidence contradicted
defendants’ showing of good-faith. DE.596:38.
        In sum, the district court applied the governing legal standard to find that
the government’s “scant evidence of Defendants’ willfulness” fell short, given

defendants’ reasonable belief they acted lawfully under the safe harbor and
absent any of the types of evidence typically found in an AKS case, such as that
“the terms of the contract were not faithfully executed, that Clinca was paid for
services that were not rendered, [or] that the payments under the contract were
in excess of fair market value….” DE.596:28, 32-33, 38. The government’s
appeal challenges that factual determination, not any legal holding.

 III.    The District Court’s Willfulness Finding Is Not Clearly Erroneous
         The district court’s finding that the government “failed to establish by a
preponderance of the evidence that Defendants conspired to violate the AKS”

because the court “could not find that any of the involved individuals had reason
to believe they were violating the law” is not clearly erroneous. DE.596:38. “The
term ‘willfully’ in the anti-kickback statute, 42 U.S.C. § 1320a-7b(b), requires the

government to prove” that a defendant “knew that his conduct was generally
unlawful.” United States v. Wenxia Man, 891 F.3d 1253, 1268 (11th Cir. 2018)
(citing Starks, 157 F.3d at 837-39)). Willfulness is refuted by evidence that one


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acted in good faith. See United States v. Anderson, 872 F.2d 1508, 1517-18 (11th
Cir. 1989). The district court meticulously considered the totality of the

government’s evidence (DE.596:23-27) and defendants’ evidence (DE.596:27-
28), and then thoughtfully explained why the preponderance of the evidence
does not establish that defendants knew their conduct was unlawful (DE.596:28-
38), assuming their conduct even was unlawful (see Argument § IV, infra). That
finding is correct—and certainly not clearly erroneous.

      A. The District Court’s Finding on Willfulness Is Supported by
         Substantial Evidence
      The government largely ignores the evidence submitted by defendants and
relied on by the district court in determining that the evidence does not establish

willfulness. That evidence shows the contracts were run-of-the-mill service
agreements that paid fair market compensation for needed services that were
actually performed, not a pay-for-play scheme. It also shows that Tenet’s
attorneys were involved at every step of the contracting process, providing all
involved with reasonable assurance that the agreements were legal and satisfied
the AKS and its personal-services safe harbor. For all its bluster, the government
refuses to seriously engage the district court’s findings on either point.
      Most glaringly, the government fails to address the extensive evidence that
the hospitals received needed and valuable services from Clinica at a fair market

value. See, e.g., DE.521-Ex.2:515, 752 (interpretation services), DE.521-
Ex.12:51 (same); DE.521-Ex.15:79-80 (same); DE.521-Ex.48:76 (same);
DE.521-Ex.63:34 (same); DE.521-Ex.2:153-54, 165 (Medicaid eligibility



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services); DE.521-Ex.12:20 (same).


                                                               See, e.g., DE.507-
App.B:162; DE.521-Ex.12:42, Ex.48:268.
      Consistent with this evidence, the district court found it “apparent that the
services provided by Clinica were valuable to Tenet and to the patients,” and
that “Clinica was uniquely situated to provide these services.” DE.596:32. The
government does not dispute the district court’s finding that it failed to adduce

“any evidence that Clinica was paid for services that were not provided, that the
amount paid exceeded the fair market value of the services that were provided,
[or] that the services were not needed by the hospitals.” DE.596:13, n.6.
      Attempting to nevertheless characterize the contracts as pretextual, the
government argues that the district court failed “to acknowledge the evidence
that Clinica did not, for example, provide quality translation services.”
Gov’t.Br.44. The government cites to an alleged co-conspirator statement to
prove its point—
                                      —that neither includes nor references
defendants. DE.507-Ex.36. The government ignores the district court’s finding
that the recipient of this email “complained about the translators” to Mr. Cota
and “sought to compel Clinica to perform under the terms of the contract”—a
far cry from furthering the alleged conspiracy. DE.596:13, n.6.


                                        DE.521-Ex.49


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               Moreover, other evidence showed that the interpreters were

qualified and doing a good job. See, e.g., DE.521-Ex.12:57


                                        Even the government’s own evidence
contradicts its allegation. See e.g., DE.507-App.B:136




      The evidence that the hospitals received needed and valuable services at a
fair market value—and the complete lack of evidence that the services were
unnecessary or not rendered—negates willfulness in two distinct ways. First, it
undermines the government’s theory that the “true purpose” of the contracts
was to pay for referrals. Witness after witness before the grand jury testified that


services. See, e.g., DE.521, Ex.12:10
                                  ; DE.521-Ex.14:251
                                                  ; DE.521-Ex.14:262


DE.521-Ex.15:42
           . 11 The undisputed evidence that the hospitals received these

11
   The government dismisses the testimony of these witnesses as “post-hoc
justifications.” Gov’t.Br.51, n.12. But their grand jury testimony is detailed and


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necessary services at fair market value—and docked Clinica’s pay when they
didn’t—confirms this testimony. As the district court explained, “[t]he existence

of those services made the Tenet hospitals an attractive place for Clinica to send
its patients because Clinica knew that its employees would be there to help with
translation and Medicare eligibility,” but there is nothing illegal about
“creat[ing] an attractive place to refer patients.” DE.596:34. In short, the
evidence supports the district court’s finding that “the government d[id] not
show by a preponderance of the evidence that Defendants did anything more

than create an attractive arrangement for referrals.” DE.596:35.
      Second, this evidence supports the district court’s separate finding that,
even if the government had proven that the purpose of the contracts was to
induce referrals, “[d]efendants had a reasonable basis to believe that the
contractual arrangements under the terms of the contracts were legal.”
DE.596:37. As discussed above, the safe harbor, 42 C.F.R. § 1001.952(d),
exempts from the AKS payments made under contracts where the services are
reasonably necessary and compensation reflects a fair market value. The district
court correctly explained that there was “significant evidence regarding the fact
that the lawyers on both sides were heavily involved in drafting and monitoring
the services contracts,” DE.596:28, including ensuring that the requirements of
the safe harbor were satisfied, see, e.g., DE.507-App.B:651; DE.521-Exs.4, 12:73,
16, 20-23, 44, 48:88, 55, 63-64.

credible, which is likely why the government would prefer to introduce their
emails through a case agent rather than calling the witnesses.


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         See, e.g., DE.521-Ex.64:22, Ex.35.

      As the district court noted, the government “failed to dispute, or even
respond to, Defendants’ contention that the contracts qualified under the
§ 1001.952(d) safe harbor.” DE.596:33. On appeal, the government argues that
the safe harbor is inapplicable because “compensation under the contract takes
into account the volume or value of referrals.” Gov’t.Br.45; see also Gov’t.Br.53.
The government’s argument—which relies on a novel “chicken and egg” theory

of criminal liability, DE.596:34 (quoting government attorney)—is both waived
and incorrect as a matter of law, as explained in Argument § IV, infra.
      The government’s argument also fails to seriously engage the district
court’s factual finding of defendants’ reasonable reliance on the safe harbor. The
relevant question is not, as the government assumes (at 53-54), whether the
contracts actually satisfied the safe harbor, but whether the evidence shows that
defendants endeavored to comply or believed they complied with the safe
harbor, thereby negating willfulness. On that question, the government identifies
no evidence that defendants either were aware of the government’s newly
contrived chicken-and-egg theory or that they were violating it.
      Quite the opposite. Tenet legal counsel was involved at every step of the
contracting process and was included on emails discussing Clinica volume—the
same emails the government relies on to argue that the safe harbor is
inapplicable. See, e.g., DE.507-App.B:323-25




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                          See DE.507- Ex.3 (designating the report as a co-
conspirator statement); DE.521-Ex.3 (counsel’s review of the report). The
government’s argument that defendants somehow must have known that these
discussions with their legal counsel placed the contracts outside of the safe
harbor is nonsensical.

      In short, the totality of the evidence shows that the payments at issue were
made pursuant to facially lawful and non-pretextual contracts that were
extensively vetted by counsel. The district court did not clearly err in finding that
the government failed to prove that defendants knew those payments were
unlawful, as necessary to establish willful violation of the AKS.
      B. The Government Fails to Establish Clear Error
      The government argues that the district court made three errors in finding
that the preponderance of the evidence does not establish willfulness: (1) the
court erred in finding “scant” evidence of willfulness, Gov’t.Br.54-57; (2) the
court erred in finding that payments under the contracts were not conditioned
on referrals, Gov’t.Br.46-54; and (3) the court erred in finding that defendants in
good faith relied on counsel, Gov’t.Br.57-60. None withstand scrutiny.

           1.      The District Court Correctly Found “Scant” Evidence of Willfulness
      The record confirms that the government presented “scant” evidence of
willfulness. DE.596:28. Indeed, as the district court observed, “no form of the


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word ‘willful’” even appeared in the government’s motion. DE.596:28, n.14.
The government belatedly argues on appeal that two forms of evidence establish

willfulness: AKS-related trainings attended by defendants and contract
provisions certifying compliance with the AKS. Gov’t.Br.54-57. That beggars
belief.
      Regarding the AKS trainings, the district court correctly explained that
the PowerPoint slides submitted by the government “provide only a vague idea
of the content of the training by merely listing the topics to be discussed,” such

as by stating “Knowing & willful – One purpose test.” DE.596:29. “[T]he
Government’s evidence does not establish what was said about the one purpose
rule” at the training, and “whoever led the training could have in good faith read
the plain language of the safe harbor (which was also discussed in the training)
and determined that the one-purpose rule does not apply if a transaction fit
within the safe harbor.” DE.596:29-30. And the boilerplate contractual
provisions the government cites contain even less detail about the AKS—the
provisions do not even mention the one-purpose rule or the safe harbor. DE.507-
App.B:441 (stating that payments under the contract are not “conditioned on
any requirement” to make referrals). This “evidence” does not establish that
defendants knew the intricacies and interplay of the safe harbor and the one-
purpose rule, such that their reliance on counsel was somehow illegitimate.
DE.507:14, 25.
      The government speculates that “the consensus view of the one-purpose
rule” was presented at the AKS trainings. Gov’t.Br.56. What, precisely, the


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government means by the “consensus view” of the one-purpose rule is unclear.
As noted above, the government now concedes that the safe harbor is a complete

defense to liability. The government’s suggestion that defendants must have
known their conduct was unlawful because of the one-purpose rule (at 56) is at
odds with that concession. The district court thoroughly explained why, as a
factual matter, defendants could reasonably believe that contracts satisfying the
safe harbor were lawful even if one purpose of engaging Clinica was to obtain
referrals. DE.596:9-21, 28-30. Further confusing things, the government also

concedes that a medical provider may lawfully choose to hire a service provider
that “has the capacity to refer patients over one that does not.” Gov’t.Br.45. In
any event, the government points to nothing even suggesting that these legal
nuances, nor the government’s novel chicken-and-egg theory of liability, were
discussed at the AKS trainings. Cf. United States v. Nora, 988 F.3d 823, 831 (5th
Cir. 2021) (“A juror would have to make a speculative leap about the content of
these trainings and meetings—that they somehow alerted Nora to the
unlawfulness of Abide’s practices and the actions he took to support them.”).
      The government cites three cases where evidence indicating the
defendants’ general awareness of the AKS supported a finding of willfulness.
Gov’t.Br.54, 57. Apart from the markedly different procedural posture of those
cases—sufficiency of the evidence challenges to jury verdicts—the cases all
involved obvious AKS violations. See, e.g., United States v. Hill, 745 F. App’x 806,
815 (11th Cir. 2018) (pharmacy shared fifty percent of its profits from
prescriptions with defendants, who paid patients to obtain prescriptions); United


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States v. Moshiri, 858 F.3d 1077, 1079 (7th Cir. 2017) (referring physician
received payments under purported teaching contract with hospital where he did

not perform vast majority of contractual duties); United States v. St. Junius, 739
F.3d 193, 199 (5th Cir. 2013) (home care service provider received ten-percent
kickback on the price of medical equipment purchased by her referrals). 12

      As the district court explained, in such “typical” AKS cases “willfulness
is evident because, for example, a doctor who is paid for a job that she does not
perform obviously knows that she is doing something wrong.” DE.596:38.

These facts do not exist here because this is not a typical AKS case. The
government seeks to push the boundaries of AKS criminal liability to reach
payments made pursuant to facially lawful and non-pretextual contracts
extensively vetted by counsel simply because, according to the government,
some of the services would not have been necessary without the referrals. Yet
the government identifies no case finding criminal liability under the AKS
supporting its novel theory. 13 Even if the government’s theory of liability were

12
  The other case cited by the government involved a challenge to a jury verdict
under the Arms Export Control Act and obviously culpable conduct. United
States v. Chi Mak, 683 F.3d 1126, 1131 (9th Cir. 2012) (defendant attempted to
smuggle secret naval technology to China).
13
   Every single case cited by the government in support of willfulness involved
the obviously culpable conduct of typical AKS cases. See, e.g., Vernon, 723 F.3d
at 1257 (defendants paid referral sources forty-five percent of profits from each
referral); United States v. Starks, 157 F.3d 833, 836 (11th Cir. 1998) (defendants
paid health aides $250 per referral); United States v. Hagen, 60 F.4th 932, 938 (5th
Cir. 2023) (defendants paid Philippines operation to target senior citizens, have
a teledoc sign an equipment order, and arrange for them to order the equipment
from defendants);United States v. Clough, 978 F.3d 810, 815 (1st Cir. 2020)


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correct, which it is not, there is no evidence that defendants knew of that theory,
much less that they willfully violated it.

           2. The District Court Correctly Found That the Government Failed to
              Establish That Defendants Paid for Referrals
      The government faults the district court for finding that it did not “show

by a preponderance of the evidence that Defendants did anything more than
create an attractive arrangement for referrals.” DE.596:35. The government
attempts to characterize this case as a “quid pro quo arrangement: payments for

patient referrals.” Gov’t.Br.47. This argument is particularly weak with respect
to Mr. Moore, as he began his tenure at AMC nearly two years after the Clinica
relationship was formed. The government’s accusation requires one to actively
ignore the substantial evidence that services were being provided throughout the
entire tenure of the Clinica arrangement. See pp. 7-8, supra. But even accepting
the government’s utter speculation about the “true purpose” of the contracts, the

government would still fail to establish willfulness because defendants could in
good faith believe that their conduct was lawful under the safe harbor. See pp.
38-41, supra.

        Regardless, ample evidence supports the district court’s finding that at
most defendants created an attractive arrangement for referrals. As discussed,



(defendant paid $1,000 for “sham speaking engagements” no one attended);
United States v. Nagelvoort, 856 F.3d 1117, 1125-26 (7th Cir. 2017) (doctor paid
$2,000 per month to do nothing); United States v. Sanjar, 876 F.3d 725, 747 (5th
Cir. 2017) (defendants paid group-home operators to refer residents to sham
mental health facility).


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see pp. 7, 19-21, supra, defendants presented extensive evidence that the purpose
of the contracts was to obtain services that were incredibly important to serve

the region’s fast-growing Hispanic population. The government’s contrary
argument rests on the conclusory, inconsistent, and unreliable statements of
Ms. Cota and a handful of documents taken out of context and misrepresented
as sinister. Notably, Ms. Cota’s expected testimony and most of those
documents are among the statements that the government seeks to admit
pursuant to Rule 801(d)(2)(E), which provides that courts “may consider” such

statements in deciding a motion to admit under the rule, but that “[t]he
statement…does not by itself establish…the existence of a conspiracy or
participation in it.” In light of this rule, the government is fortunate that the
district court considered its evidence at all; the district court certainly did not err
in declining to give the evidence—and the speculative inferences the government
draws from it—dispositive weight.
      Regarding Ms. Cota, the government argues that she “affirmed under oath
that she and her co-conspirators ‘agreed’ that Clinica would be compensated for
‘referring’ Clinica patients to Tenet Hospitals, that the contracts and payments
‘were conditioned on and in exchange for Clinica referring its patients to the
hospitals,’ and that the Tenet Hospitals would not have contracted with and paid
Clinica for services unless Clinica referred patients to them.” Gov’t.Br.46-47.
And law enforcement’s notes from Ms. Cota’s interviews reflect that
                                                                    Gov’t.Br.48. The
government’s reliance on this evidence does not withstand scrutiny.


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      Ms. Cota’s interview notes indicate that it was




                                          DE.507-App.B:19. In light of the




             Id. At the time, Ms. Cota also


                    DE.507-App.B:972. This is why Ms. Cota routinely relied
upon her own counsel and altered her conduct according to his legal advice. See
e.g., DE.521-Ex.3
                                                  As the district court correctly
recognized, Ms. Cota’s statements and admissions do not prove that the
contracts were a sham, DE.596:24, nor could they in light of the undisputed
evidence that they weren’t, see pp. 7, 19-22, supra. Ms. Cota’s guilty plea simply
establishes that she “now sees it differently,” id., and accepted the government’s
“chicken and egg thing” theory, DE.507-App.B:219. The plea sheds no light on
defendants’ mens rea.
      Ms. Cota’s statements that
                              are similarly underwhelming. The district court
explained that “hospital administrators have ample, legal reasons to monitor
patient volume,” and that “‘mere oral encouragement to refer patients…does
not violate the law.’” DE.596:31 (quoting United States v. McClatchey, 217 F.3d


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823, 824 (10th Cir. 2000)). Indeed, defendants submitted uncontested evidence
that




       Moreover,
                                      . See, e.g., DE.521-Ex.2:373-74. Any good

business losing customers or community standing would want to know the
reason and address it. See, e.g., DE.521-Ex.15:93


                                                                          DE.521-
Ex.48:66-67




       The “documentary evidence” cited by the government fares no better.
Gov’t.Br.48-52. Defendants are not included on or referenced in about half of
the documents. DE.507-Exs.18, 21, 29, 43; DE.507-App.B:277. Regarding the
documents that relate to defendants, the government cites innocuous emails
such as one asking                                                        DE.507-
App.B:290, or another noting that Clinica
DE.507-App.B:302. The government also places great emphasis on one email


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chain between
                              DE.507:Ex.41. As explained, there is nothing

unusual or illegal about hospital executives monitoring patient volume and
referrals. The government also argues that a
“captured the kickback scheme in two sentences.” Gov’t.Br.51 (citing DE.507-
App.B:333). If that were true, it seems unlikely that


                           See e.g., DE.521-Ex.2:477,719.

      The documents that defendants are not included on or referenced in are
likewise unexceptional, even if they had any relevance to defendants’ state of
mind, which they clearly do not. For example, the government suggests that a




                             “speak[s] to the Tenet conspirators’ agreement to
pay Clinica to induce patient referrals,” Gov’t.Br.50. But the preceding sentence
of that email makes clear that




                        DE.507-Ex.21. As the




                              DE.521-Ex.14:250. The fact that the government
must resort to drawing wild inferences from benign business communications


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underscores the weakness of its evidence. The district court did not err in finding
that the government failed to establish a quid pro quo arrangement by a

preponderance of the evidence.

           3. The District Court Correctly Found That Defendants Endeavored to
              Comply with the AKS, Including by Working with Counsel
      Finally, the district court did not err in relying on evidence that “attorneys
for both Tenet and Clinica vetted the contracts to ensure that they would not
violate the law” to support its conclusion that defendants had a “reasonable
basis” to believe that their conduct was lawful. DE.596:37. Contrary to the
government’s suggestion (at 57), the district court did not hold that this evidence
conclusively established the affirmative defense of advice of counsel. The district

court instead considered the evidence of counsels’ involvement in finding that
the preponderance of the evidence does not establish willfulness. DE.596:37-38.
      The district court’s consideration of this evidence in connection with its
willfulness finding is plainly appropriate. See United States v. Brown, 983 F.2d 201,
203 (11th Cir. 1993) (noting that evidence relating to advice of counsel was “one
of three types of evidence [defendant] relied upon to negate the willfulness

element”). Either considered alone or in conjunction with all of the other
evidence, it illustrates that defendants endeavored to comply and reasonably
believed that they complied with the AKS. Nor was the district court required

to make a finding that all of the elements of an advice-of-counsel defense were
satisfied prior to considering this evidence. See United States v. Gorski, 36 F. Supp.
3d 256, 268 (D. Mass. 2014) (“The second, and broader, sense of the term



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[advice of counsel] arises when a criminal defendant seeks to introduce
evidence, or argue to the jury, that the advice or involvement of a lawyer tended

to negate his mens rea, even if the defendant could not establish all the elements
of the formal defense.”). 14
        In any event, the government is wrong that defendants did not “fully

disclose[] all material facts” to counsel. Gov’t.Br.57 (quotation marks omitted).
As to Mr. Moore, the government cites exactly one
       —again one of the documents the government seeks to admit as a co-
conspirator statement—
DE.507-Ex.41. But, as noted, it is standard practice to monitor patient volume
across services lines and inquire about significant drops. The district court

correctly explained that the mere fact that defendants did not, for example,
forward this email to counsel “falls significantly short of establishing that
[defendants] failed to make a full and complete good faith report of all material
facts to an attorney.” DE.596:37. Moreover, as discussed, defendants did include
counsel on other emails discussing volume in connection with Clinica
contracts. 15

14
  The government incorrectly states that defendants would bear the ultimate
burden of proof on an advice of counsel defense. Where the defense would
negate an element of the crime, such as the requisite mens rea here, the
government is “foreclosed from shifting the burden of proof to the defendant.”
Smith v. United States, 568 U.S. 106, 110 (2013).
15
     The government cites two additional
                                               in support of its contention that
defendants failed to disclose material facts. Gov’t.Br.58. These documents are
similarly unremarkable, see pp. 18-19, supra¸ and of course defendants could not


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       As to Clinica, the government does not dispute the district court’s finding
that Ms. Cota “worked closely” with counsel for Clinica and “sought to avoid

violating the AKS.” DE.596:28. It also does not even try to argue that the Cotas
failed to disclose material facts to their counsel. Nor could it. Ms. Cota, for
example,
                               See p. 44, supra. The government argues only that
“Tracey pleaded guilty, admitting that she willfully joined an unlawful plan that
was not disclosed in the Clinica-Tenet contracts,” and that, in light of her guilty

plea, “Tracey could not, and ultimately did not, assert good-faith reliance on
advice of counsel.” Gov’t.Br.60. This point is irrelevant. The district court was
well-aware of Ms. Cota’s guilty plea, as it presided at her hearing. The fact that
Ms. Cota pled guilty does not relieve the government of its burden in this case
to establish Mr. Moore’s willfulness—a burden that the district court did not clearly
err in finding that the government failed to meet.

 IV.    Defendants’ Compliance with the Safe Harbor Provides an
        Alternate Basis for Affirmance
        Defendants’ compliance with the personal-services safe harbor provides
an alternative ground for affirmance. The district court correctly observed that

the government “failed to dispute…Defendants’ contention that the contracts
qualified under the [] safe harbor,” DE.596:33, but credited the government’s
legal position that the one-purpose rule overrides the safe harbor. DE.596:18. As

noted, the government repudiates that position on appeal, conceding that “a

forward to counsel documents that they did not receive.


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payment made under an arrangement satisfying every requirement of a
regulatory safe harbor does not violate the AKS.” Gov’t.Br.40. Because the

government did not raise below its new argument (at 53) that the Clinica
agreements fall outside the safe harbor, that argument is forfeited. See United
States v. Ross, 964 F.3d 1034, 1040 (11th Cir. 2020) (refusing to address “new”
argument that government “fail[ed] to raise…in the district court”).
        It is also meritless. The government contends that the agreements do not
satisfy the safe harbor’s requirement that compensation is “not determined in a

manner that takes into account the volume or value of any referrals,” 42 C.F.R.
§ 1001.952(d)(5), because they account for services that Clinica would provide
to patients it refers. Gov’t.Br.53-54. But this reading of the “takes into account”
language to forbid fair-market-value payment for services provided to referred
patients conflicts with both the safe harbor as a whole and the statute. The
regulation requires projecting service volume—whether or not that involves
services provided to referred patients—through its requirements that agreements
be for at least a year’s duration, set out total compensation in advance, be for “fair
market value,” and be only for services “reasonably necessary to accomplish the
commercially reasonable business purpose of the services.” 42 C.F.R.
§ 1001.952(d)(iii), (iv), (vi). As a result, the government’s reading would
essentially nullify the safe harbor, because it would exclude personal-services
agreements with practically any person or entity in a position to make referrals,
from ambulance services to surgeons. Contra Gov’t.Br.45 (conceding a hospital
may lawfully contract with service-provider that “also has the capacity to refer


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patients”). As for the statute, its “remuneration” element (to which the safe
harbor provides an exception) is limited to payment for referrals and so does not

encompass fair-market-value payment for providing services to patients. 42
U.S.C. § 1320a–7b(b)(2); cf. Bingham v. HCA, Inc., 783 Fed. App’x. 868, 873
(11th Cir. 2019) (holding there was no remuneration because physician tenants
did not receive anything “in excess of the fair market value of their lease
payments”). The only interpretation of the “takes into account” language that
fits the overall safe harbor and the statute is one limited to payment for referrals,

not for the provision of reasonably necessary services at fair market value. 16
      Furthermore,     the    government’s      conclusory    statement    that   the
“compensation under the contract takes into account the volume or value of
referrals” is wholly unsupported. Gov’t.Br.45. The government cites to no
evidence—because there is none—that contractual compensation varied based
upon the number of referrals. See U.S. ex rel. Singh v. Bradford Reg'l Med. Ctr., 752
F. Supp. 2d 602, 629 (W.D. Pa. 2010) (requiring that or above-fair-market value
compensation); U.S. ex rel. Villafane v. Solinger, 543 F. Supp. 2d 678, 692-3 (W.D.
Ky. 2008) (same). 17 AMC paid Clinica regardless of whether Clinica referred

zero patients or fifty patients in a month because the payments were for the fixed

16
  The government’s authorities involving sham contracts, Gov’t.Br.53-54, have
no bearing here, where it is undisputed that Clinica performed the contracted
services and was paid at fair market value. DE.569:33, 38.
17
   “The requirements for qualifying for an exception under the Stark Act and for
fitting within the corresponding safe harbor provision under the Anti–Kickback
Act are substantially similar and thus the same analysis would apply to both.”
U.S. ex rel. Singh, 752 F. Supp. at 634.


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fair market value of services, not patients. See 507-App.B:472, 480, 485, 490
(AMC’s compensation for Clinica’s services set at an hourly and monthly rate

for a two-year term). The government’s repeated reliance on “volume tracking”
evidence fails to refute this reality. The “volume tracking” was done for typical
hospital administration purposes after the contracts with Clinica were in place
and fair market value was determined by counsel. See DE.521-Exs.63:48-49,
64:4, 22 (Tenet legal counsel analyzing and setting fair market value for
Clinica/AMC contracts). “Volume tracking” was not done to establish the

“compensation” as the safe harbor addresses because it was already set. Thus,
the compensation did not “take into account the value or volume of referrals”
and the contract remained within the safe harbor provision. Just because the
government states something does not make it so.

 V.    Given Defendants’ Additional Grounds for Denial of the
       Government’s Motion, Reversal is Inappropriate
      Even if the Court accepts the government’s challenge to the district court’s
willfulness finding, that would support only vacating denial of the government’s
motion, not reversal. Although asserting otherwise, the government

acknowledges that further determinations would be necessary to admit any
statement. Gov’t.Br.60-61. The district court similarly acknowledged that its
willfulness finding relieved it from having to resolve “numerous other complex

issues.” DE.617:18.
      Before admitting any statements under Rule 801(d)(2)(E), the district
court would need to resolve a plethora of issues. Indeed, defendants challenged



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all elements of the government’s showing as to each alleged co-conspirator and
statement, most of which the district court did not reach. Accordingly, the most

the government could obtain on appeal is vacatur and remand for the district
court to proceed consistent with this Court’s disposition. See, e.g., United States v.
Watkins, 10 F.4th 1179, 1185 (11th Cir. 2021) (en banc).

                                 CONCLUSION
      The Court should dismiss this appeal or affirm the decision below.


Dated: April 17, 2023                      /s/ Brian F. McEvoy
                                            BRIAN F. MCEVOY
ANDREW M. GROSSMAN                          BRIAN T. RAFFERTY
KRISTIN A. SHAPIRO                          GRACE W. ZOLLER
Baker & Hostetler LLP                       Baker & Hostetler LLP
Washington Square, Suite 1100               1170 Peachtree Street
1050 Connecticut Avenue, N.W.               Suite 2400
Washington, D.C. 20036                      Atlanta, GA 30309
(202) 861-1697                              (404) 459-0050
agrossman@bakerlaw.com                      bmcevoy@bakerlaw.com
                                            Attorneys for Defendant-Appellee William
                                            Moore




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                     CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing complies with the length limitations of
Fed. R. App. P. (“Rule”) 32(a)(7)(B) because it is 12,902 words, excluding the
parts that are exempted under Rule 32(f). It complies with the typeface and type-

style requirements of Rule 32(a)(5) and Rule 32(a)(6) because it is printed in 14-
point Calisto MT font, a proportionally spaced typeface with serifs.

Dated: April 17, 2023                     /s/ Brian F. McEvoy
                                          Brian F. McEvoy
                                          Counsel for Defendant-Appellee William
                                          Moore




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                          CERTIFICATE OF SERVICE
      I hereby certify that on April 17, 2023, a true and correct copy of the
foregoing Redacted Opening Brief for Defendant-Appellee William Moore was
electronically filed via the Court’s CM/ECF system and served upon all counsel

of record in this case.
      I also certify that on April 17, 2023, a true and correct copy of the Sealed
Opening Brief for Defendant-Appellee William Moore was served via electronic
mail to counsel for the government-appellant and each defendant-appellee, who
all previously consented to service by email. A courtesy paper copy is
forthcoming to the Clerk’s Office pursuant to the Local Rules.


Dated: April 17, 2023                     /s/ Brian F. McEvoy
                                          Brian F. McEvoy
                                          Counsel for Defendant-Appellee William
                                          Moore




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